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11
12                                IN THE UNITED STATES DISTRICT COURT

13                              FOR THE NORTHERN DISTRICT OF CALIFORNIA

14
15   JANE DOE I, et al.,                   )                  No. C 02 05570 WHA (MEJ)
                                           )
16             Plaintiffs,                 )
                                           )                  PLAINTIFFS’ OFFER OF PROOF RE
17         v.                              )                  L.B. REDDY’S SEXUAL ACTIVITIES
                                           )                  WITH GIRLS WHO ARE NOT
18   LAKIREDDY BALI REDDY, et al.,         )                  PLAINTIFFS IN THIS CASE
                                           )
19             Defendants.                 )                  PUBLIC REDACTED VERSION
     _____________________________________ )
20                                                            Date:    April 7, 2004
                                                              Time:    12:00pm
21                                                            Place:   Courtroom 9, 19th Floor
                                                              Judge:   Hon. William H. Alsup
22

23           Plaintiffs hereby submit the following offer of proof in response to the Court’s April 5, 2004
24   order to submit an offer of proof regarding L.B. Reddy’s sex with other girls who are not parties to this
25   case.
26           Plaintiffs will introduce admissible evidence and competent testimony demonstrating that
27   defendant L.B. Reddy engaged in sexual relations with other young girls who are not parties to this
28   case, and that after U.S. authorities began to investigate L.B. Reddy for criminal acts, L.B. Reddy and

     PLS’ OFFE R O F PRO OF RE L.B. REDD Y’S SEX W ITH O TH ER S;
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1    other defendants engaged in obstruction of justice and witness tampering by, inter alia, obtaining false

2    sworn declarations from those individuals and other documents falsely stating that those individuals

3    were not minors, that they had never had sex with L.B. Reddy, and that L.B. Reddy had nothing to do

4    with their fraudulent immigration to the United States. Both the sex acts and the subsequent cover-up

5    are RICO predicate acts and overt acts in furtherance of defendants’ unlawful conspiracy.

6           1. In addition to admitting to having sexual relations with the minor girls Jane Doe II and Vani

7    Prattipati, L.B. Reddy has admitted in discovery that he had sex with former plaintiffs [REDACTED]

8    (Jane Doe I), [REDACTED] (Jane Doe III), [REDACTED] (Jane Doe IV), [REDACTED] (Jane Doe

9    V) and [REDACTED] (Jane Doe VI). See Rubin Decl. in Support of Plaintiffs’ Motion to Exclude

10   Witnesses (“Rubin Decl.”), Ex. I and J. (discovery responses admitting sexual relations with current

11   and former plaintiffs). L.B. Reddy has also admitted that he brought each of these girls to the United

12   States on fraudulent visas. Id. However, throughout discovery L.B. Reddy refused to answer questions

13   about whether these girls were minors, on the ground that his response might tend to incriminate him.

14           In other discovery responses, L.B. Reddy asserted his Fifth Amendment right against self

15   incrimination in response to questions about whether he engaged in sexual relations with other minor

16   girls, including [REDACTED] (a.k.a. [REDACTED] a.k.a. [REDACTED]).

17           L.B. Reddy’s investigator Steve Gore in February 2000 obtained from [REDACTED] Doe IV,

18   [REDACTED] Doe V, [REDACTED] Doe VI, [REDACTED], and [REDACTED] (among others)

19   fraudulent declarations falsely attesting that each girl had never had sex with L.B. Reddy, that she was

20   over 18 at the time that she went to the United States, and that L.B. Reddy had nothing to do with her

21   immigration to the United States.1

22           2. The acts described above are evidence of federal crimes that constitute RICO predicate acts

23   (as pled by plaintiffs), as follows:

24                a. Transporting an individual under 16 years old in interstate or foreign commerce with the

25                intent to engage in sexual activity, or transporting an individual under 18 years old in

26                interstate or foreign commerce with the intent to engage in sexual activity by force or

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            1
             As explained in Plaintiffs’ Motion to Exclude Witnesses, these documents were wrongfully
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     withheld throughout discovery and only produced two weeks before trial.

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1                threat. 18 U.S.C. §2423; RICO §1961(1)(B);

2                b. Traveling in interstate or foreign commerce with the intent to engage in sexual activity

3                with any person under 16 years, or with any person under 18 years old by force or threat.

4                18 U.S.C. §2423; 18 U.S.C. §1961(1)(B);

5                c. Obtaining, using, attempting to use, possessing, accepting, or receiving a visa that was

6                obtained by making a false statement. 18 U.S.C. §1546; 18 U.S.C. §1961(1)(B);

7                d. Willfully and knowingly providing a passport obtained by false statements to another

8                person for that person to use. 18 U.S.C. §1542; RICO §1961(1)(B);

9                e. Knowingly transporting a person in interstate or foreign commerce with the intent that

10               such person engage in sexual activity for which any person could be charged with a crime,

11               or persuading, inducing or coercing any person to do so. 18 U.S.C. §§2421-22; RICO

12               §1961(1)(B);

13               f. Attempting to influence, intimidate or impede a witness or potential witness from giving

14               testimony or evidence in a federal case by threats, force, or corruption. 18 U.S.C. §1503;

15               RICO §1961(1)(B);

16               g. Knowingly using intimidation or physical force to attempt to persuade another person to

17               influence, delay or prevent testimony in an official proceeding or to cause any person to

18               withhold testimony or withhold, alter, destroy, conceal or mutilate evidence. 18 U.S.C.

19               §1512; 18 U.S.C. §1961(1)(B).

20          None of these claims can come as a surprise to defendants. Plaintiffs alleged each of these

21   RICO violations and acts of conspiracy in the complaint, and have pursued discovery about all of these

22   matters. Plaintiffs are entitled to prove their RICO and conspiracy claims at trial by introducing

23   evidence of L.B. Reddy’s proven pattern of illegal sex with minors and his obstruction of justice.

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     PLS’ OFFE R O F PRO OF RE L.B. REDD Y’S SEX W ITH O TH ER S;
     NO. C-02-5570 W HA (M EJ)                                                                                 3
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1    Dated: April 6, 2004                                                              MICHAEL RUBIN
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6
                                                                                       By: /s/ Rebekah Evenson
7                                                                                      Attorney for Plaintiffs
8    F:\Reddy\Global Case\Briefs\Offer of Proof LB Sex\Pl. Offer Proof re L.B. Reddy Sex.REDACTED.wpd


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